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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


  Enovsys LLC,
                                                     Case No.: 2:21-cv-00315-JRG-RSP
                  Plaintiff,
  vs.

  Verizon Communications, Inc., et al.,

                  Defendants.

                                   Amended Docket Control Order

           Before the Court is the Joint Motion to Amend the Docket Control Order. Having

  considered the motion, the Court finds that it should be and hereby is GRANTED, as set forth

  below:

        Current date           Proposed new                          Event
                                   date

  December 5, 2022                            *Jury Selection – 9:00 a.m. in Marshall, Texas

  November 7, 2022                            * If a juror questionnaire is to be used, an editable
                                              (in Microsoft Word format) questionnaire shall be
                                              jointly submitted to the Deputy Clerk in Charge by
                                              this date. 1

  November 1, 2022                            *Pretrial Conference – 9:00 a.m. in Marshall, Texas
                                              before Judge Roy Payne

  October 24, 2022                            *Notify Court of Agreements Reached During Meet
                                              and Confer

                                              The parties are ordered to meet and confer on any
                                              outstanding objections or motions in limine. The
                                              parties shall advise the Court of any agreements
                                              reached no later than 1:00 p.m. three (3) business
                                              days before the pretrial conference.

  1
    The Parties are referred to the Court’s Standing Order Regarding Use of Juror Questionnaires
  in Advance of Voir Dire.
                                                 1
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      Current date         Proposed new                                Event
                               date

  October 24, 2022                            *File Joint Pretrial Order, Joint Proposed Jury
                                              Instructions, Joint Proposed Verdict Form,
                                              Responses to Motions in Limine, Updated Exhibit
                                              Lists, Updated Witness Lists, and Updated
                                              Deposition Designations

  October 17, 2022                            *File Notice of Request for Daily Transcript or Real
                                              Time Reporting.

                                              If a daily transcript or real time reporting of court
                                              proceedings is requested for trial, the party or parties
                                              making said request shall file a notice with the Court
                                              and e-mail the Court Reporter, Shawn McRoberts, at
                                              shawn_mcroberts@txed.uscourts.gov.

  October 11, 2022                            File Motions in Limine

                                              The parties shall limit their motions in limine to
                                              issues that if improperly introduced at trial would be
                                              so prejudicial that the Court could not alleviate the
                                              prejudice by giving appropriate instructions to the
                                              jury.

  October 11, 2022                            Serve Objections to Rebuttal Pretrial Disclosures

  October 3, 2022                             Serve Objections to Pretrial Disclosures; and Serve
                                              Rebuttal Pretrial Disclosures

  September 19, 2022                          Serve Pretrial Disclosures (Witness List, Deposition
                                              Designations, and Exhibit List) by the Party with the
                                              Burden of Proof

  September 12, 2022                          *Response to Dispositive Motions (including
                                              Daubert Motions). Responses to dispositive motions
                                              that were filed prior to the dispositive motion
                                              deadline, including Daubert Motions, shall be due in
                                              accordance with Local Rule CV-7(e), not to exceed
                                              the deadline as set forth in this Docket Control
                                              Order. 2 Motions for Summary Judgment shall
                                              comply with Local Rule CV-56.


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    The parties are directed to Local Rule CV-7(d), which provides in part that “[a] party’s failure
  to oppose a motion in the manner prescribed herein creates a presumption that the party does not
  controvert the facts set out by movant and has no evidence to offer in opposition to the motion.”
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     Current date          Proposed new                               Event
                               date

  August 29, 2022                              *File Motions to Strike Expert Testimony (including
                                               Daubert Motions)

                                               No motion to strike expert testimony (including a
                                               Daubert motion) may be filed after this date without
                                               leave of the Court.

  August 29, 2022                              *File Dispositive Motions

                                               No dispositive motion may be filed after this date
                                               without leave of the Court.

                                               Motions shall comply with Local Rule CV-56 and
                                               Local Rule CV-7. Motions to extend page limits
                                               will only be granted in exceptional circumstances.
                                               Exceptional circumstances require more than
                                               agreement among the parties.

  August 22, 2022        August 29, 2022       Deadline to Complete Expert Discovery, except that
                                               Plaintiff has agreed to produce its experts for
                                               deposition on or before August 22, 2022

  August 11, 2022        August 16, 2022       Serve Disclosures for Rebuttal Expert Witnesses

  July 21, 2022          July 26, 2022         Serve Disclosures for Expert Witnesses by the Party
                                               with the Burden of Proof

  July 8, 2022           July 18, 2022         Deadline to Complete Fact Discovery and File
                                               Motions to Compel Discovery

  (*) indicates a deadline that cannot be changed without showing good cause. Good cause is
  not shown merely by indicating that the parties agree that the deadline should be changed.

                                ADDITIONAL REQUIREMENTS

  Mediation: While certain cases may benefit from mediation, such may not be appropriate
  for every case. The Court finds that the Parties are best suited to evaluate whether mediation will
  benefit the case after the issuance of the Court’s claim construction order. Accordingly, the Court
  ORDERS the Parties to file a Joint Notice indicating whether the case should be referred for
  mediation within fourteen days of the issuance of the Court’s claim construction order. As a
  part of such Joint Notice, the Parties should indicate whether they have a mutually agreeable

  If the deadline under Local Rule CV 7(e) exceeds the deadline for Response to Dispositive
  Motions, the deadline for Response to Dispositive Motions controls.
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  mediator for the Court to consider. If the Parties disagree about whether mediation is appropriate,
  the Parties should set forth a brief statement of their competing positions in the Joint Notice.

  Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert
  Motions: For each motion, the moving party shall provide the Court with two (2) hard copies of
  the completed briefing (opening motion, response, reply, and if applicable, sur-reply), excluding
  exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-sided and
  must include the CM/ECF header. These copies shall be delivered to the Court within three (3)
  business days after briefing has completed. For expert-related motions, complete digital copies of
  the relevant expert report(s) and accompanying exhibits shall be submitted on a single flash drive
  to the Court. Complete digital copies of the expert report(s) shall be delivered to the Court no
  later than the dispositive motion deadline.

  Indefiniteness: In lieu of early motions for summary judgment, the parties are directed to
  include any arguments related to the issue of indefiniteness in their Markman briefing, subject to
  the local rules’ normal page limits.

  Lead Counsel: The Parties are directed to Local Rule CV-11(a)(1), which provides that
  “[o]n the first appearance through counsel, each party shall designate a lead attorney on the
  pleadings or otherwise.” Additionally, once designated, a party’s lead attorney may only be
  changed by the filing of a Motion to Change Lead Counsel and thereafter obtaining from the
  Court an Order granting leave to designate different lead counsel.

  Motions for Continuance: The following excuses will not warrant a continuance nor
  justify a failure to comply with the discovery deadline:
  (a) The fact that there are motions for summary judgment or motions to dismiss pending;
  (b) The fact that one or more of the attorneys is set for trial in another court on the same day,
  unless the other setting was made prior to the date of this order or was made as a special
  provision for the parties in the other case;
  (c) The failure to complete discovery prior to trial, unless the parties can demonstrate that it
  was impossible to complete discovery despite their good faith effort to do so.

  Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
  the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO shall
  include a proposed order that lists all of the remaining dates in one column (as above) and the
  proposed changes to each date in an additional adjacent column (if there is no change for a date
  the proposed date column should remain blank or indicate that it is unchanged). In other words,
  the DCO in the proposed order should be complete such that one can clearly see all the
  remaining deadlines and the changes, if any, to those deadlines, rather than needing to also refer
  to an earlier version of the DCO.

  Proposed DCO: The Parties’ Proposed DCO should also follow the format described
  above under “Amendments to the Docket Control Order (‘DCO’).”

  Joint Pretrial Order: In the contentions of the Parties included in the Joint Pretrial Order,
  the Plaintiff shall specify all allegedly infringed claims that will be asserted at trial. The Plaintiff


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  shall also specify the nature of each theory of infringement, including under which subsections
  of 35 U.S.C. § 271 it alleges infringement, and whether the Plaintiff alleges divided infringement
  or infringement under the doctrine of equivalents. Each Defendant shall indicate the nature of
  each theory of invalidity, including invalidity for anticipation, obviousness, subject-matter
  eligibility, written description, enablement, or any other basis for invalidity. The Defendant shall
  also specify each prior art reference or combination of references upon which the Defendant
  shall rely at trial, with respect to each theory of invalidity. The contentions of the Parties may not
  be amended, supplemented, or dropped without leave of the Court based upon a showing of good
  cause.




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